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Strafford Superior Cc
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OFFICE OF THE

SHERIFF
JEROME P. McDERMOTT CIVIL PROCESS DIVISION
SHERIFF P.O, Box 699245
Quincy, MA 02169
219-2020-CV-00220 rel(781) 326-1767
Fax (781) 326-0288
Email: info@norfolkcivil.org
= . ’ 326-7271
Yeon Norfolk County Sheriff's Office, P.O. Box 699245, Quincy, MA 02269 / Tel. (781)
Seo > Norfolk, SS

December 11, 2020

copy of
by certify and return that on 40/16/2020 at 9:55 AM | served a true ane attested a Py
the sur sons and complaint in this action in the following manner: To wit, ye Fe ($90.00)
ed to Alexandre R. Mouchati at 181 Parkingway Quincy, MA . Basie ae nO} Travel 3304)
Conveyance ($3.00) Postage and Handling ($1.00) Attestation - 1 GOpy \»-

Total: $42.84

Deputy Sheriff Gerald DeGregorio

SERVING THE Communitics of: Avon, BELLINGHAM, BRAINTREE, BROOKLINE, CANTON, COHASSET, DEDHAM, Dover, FoxsorouGh, FRANKLIN, HousRook, MEDFIELD, Meoway,

Mittis, Micron, NeeoHam, Norrork, Norwoon, PLAINVILLE, Quincy, RANDOLPH, SHARON, STOUGHTON, WALPOLE, WELLESLEY, Westwoop, WeymMouTH, WRENTHAM,

